Case 2:21-cv-00084-JRG Document 408 Filed 06/21/22 Page 1 of 5 PageID #: 16631




                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 THE CHAMBERLAIN GROUP, LLC.,                   §
                                                §
                               Plaintiff,       §
 v.                                             §   Case No. 2:21-cv-0084-JRG
                                                §
 OVERHEAD DOOR CORPORATION and                  §
 GMI HOLDINGS INC.,                             §
                                                §
                               Defendants.      §
                                                §




                              AMENDED DOCKET CONTROL ORDER

       The Court, having reviewed the Joint Motion to Amend Docket Control Order (Dkt. No.

404) is of the opinion that the motion should be GRANTED.

       Accordingly, the below are the new dates for the Docket Control Order.

  Event                                      Original Date             Amended Date

  *Jury Selection – 9:00 a.m. in             Monday, September 12,     No change
  Marshall, Texas.                           2022

  *If a juror questionnaire is to be used,   Monday, August 29, 2022 Monday, August 15, 2022
  an editable (in Microsoft Word format)
  questionnaire shall be jointly submitted
  to the Deputy Clerk in Charge by this
  date.1

  *Pretrial Conference – 9:00 a.m. in        Monday, August 29, 2022 No change
  Marshall, Texas before Judge Rodney
  Gilstrap


  1The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
  Advance of Voir Dire.
Case 2:21-cv-00084-JRG Document 408 Filed 06/21/22 Page 2 of 5 PageID #: 16632




  Event                                       Original Date             Amended Date

  *Notify Court of Agreements Reached         Wednesday, August 24,     No change
  During Meet and Confer The parties          2022
  are ordered to meet and confer on any
  outstanding objections or motions in
  limine. The parties shall advise the
  Court of any agreements reached no
  later than 1:00 p.m. three (3) business
  days before the pretrial conference.

  *File Joint Pretrial Order, Joint           Monday, August 22, 2022 No change
  Proposed Jury Instructions, Joint
  Proposed Verdict Form, Responses to
  Motions in Limine, Updated Exhibit
  Lists, Updated Witness Lists, and
  Updated Deposition Designations

  *File Notice of Request for Daily           Tuesday, August 8, 2022   No change
  Transcript or Real Time Reporting.

  If a daily transcript or real time
  reporting of court proceedings is
  requested for trial, the party or parties
  making said request shall file a notice
  with the Court and e-mail the Court
  Reporter, Shawn McRoberts, at
  shawn_mcroberts@txed.uscourts.gov.

  File Motions in Limine                      Monday, August 8, 2022    No change

  The parties shall limit their motions in
  limine to issues that if improperly
  introduced at trial would be so
  prejudicial that the Court could not
  alleviate the prejudice by giving
  appropriate instructions to the jury.

  Serve Objections to Rebuttal Pretrial       Monday, August 8, 2022    No change
  Disclosures
  Serve Objections to Pretrial                Monday, August 8, 2022    No change
  Disclosures
  Serve Rebuttal Pretrial Disclosures         Wednesday, August 3,      No change
                                              2022




                                                 2
Case 2:21-cv-00084-JRG Document 408 Filed 06/21/22 Page 3 of 5 PageID #: 16633




  Event                                              Original Date                      Amended Date

  Serve Pretrial Disclosures (Witness                Monday, August 1, 2022             No change
  List, Deposition Designations, and
  Exhibit List)
  *Response to Dispositive Motions                   Wednesday, July 27, 2022 No change
  (including Daubert Motions).
  Responses to dispositive motions that
  were filed prior to the dispositive
  motion deadline, including Daubert
  Motions, shall be due in accordance
  with Local Rule CV-7(e), not to
  exceed the deadline as set forth in this
  Docket Control Order.2 Motions for
  Summary Judgment shall comply with
  Local Rule CV-56.
  *File Motions to Strike Expert                     Wednesday, July 13, 2022 No change
  Testimony (including Daubert
  Motions)

  No motion to strike expert testimony
  (including a Daubert motion) may be
  filed after this date without leave of
  the Court.

  *File Dispositive Motions                          Wednesday, July 13, 2022 No change

  No dispositive motion may be filed
  after this date without leave of the
  Court.

  Motions shall comply with Local Rule
  CV-56 and Local Rule CV-7.

  Motions to extend page limits will
  only be granted in exceptional
  circumstances. Exceptional
  circumstances require more than
  agreement among the parties.

  Deadline to Complete Expert                        Monday, July 11, 2022              No change
  Discovery

  2 Theparties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to oppose a motion in
  the manner prescribed herein creates a presumption that the party does not controvert the facts set out by movant and
  has no evidence to offer in opposition to the motion.” If the deadline under Local Rule CV 7(e) exceeds the deadline
  for Response to Dispositive Motions, the deadline for Response to Dispositive Motions controls.
                                                          3
Case 2:21-cv-00084-JRG Document 408 Filed 06/21/22 Page 4 of 5 PageID #: 16634




  Event                                         Original Date                  Amended Date

  Serve Disclosures for Rebuttal Expert         Wednesday, July 6, 2022        No change
  Witnesses

  Serve Disclosures for Expert                  Wednesday, June 22, 2022 Thursday, June 23, 2022
  Witnesses by the Party with the
  Burden of Proof

  Deadline to Complete Fact Discovery           Monday, June 20, 2022          No change
  and File Motions to Compel
  Discovery

  (*) indicates a deadline that cannot be changed without showing good cause. Good cause is not shown merely
  by indicating that the parties agree that the deadline should be changed.

                                  ADDITIONAL REQUIREMENTS

         Mediation: While certain cases may benefit from mediation, such may not be appropriate
 for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
 benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
 ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
 mediation within fourteen days of the issuance of the Court’s claim construction order. As a
 part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
 mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
 the Parties should set forth a brief statement of their competing positions in the Joint Notice.

         Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
 Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
 the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
 exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
 must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
 business days after briefing has completed. For expert-related motions, complete digital copies of
 the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
 to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
 than the dispositive motion deadline.

         Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
 include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
 the local rules’ normal page limits.

        Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
 “[o]n the first appearance through counsel, each party shall designate a lead attorney on the
 pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
 changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the
 Court an Order granting leave to designate different lead counsel.


                                                    4
Case 2:21-cv-00084-JRG Document 408 Filed 06/21/22 Page 5 of 5 PageID #: 16635




          Motions for Continuance: The following excuses will not warrant a continuance nor
 justify a failure to comply with the discovery deadline:

 (a)        The fact that there are motions for summary judgment or motions to dismiss pending;

 (b)     The fact that one or more of the attorneys is set for trial in another court on the same day,
 unless the other setting was made prior to the date of this order or was made as a special
 provision for the parties in the other case;

 (c)   The failure to complete discovery prior to trial, unless the parties can demonstrate that it
 was impossible to complete discovery despite their good faith effort to do so.

         Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
 the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
 include a proposed order that lists all of the remaining dates in one column (as above) and the
 proposed changes to each date in an additional adjacent column (if there is no change for a date
 the proposed date column should remain blank or indicate that it is unchanged). In other words,
 the DCO in the proposed order should be complete such that one can clearly see all the remaining
 deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an
 earlier version of the DCO.

        Proposed DCO: The Parties’ Proposed DCO should also follow the format described
 above under “Amendments to the Docket Control Order (‘DCO’).”
       .
          Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial
 Order, the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The
 Plaintiff shall also specify the nature of each theory of infringement, including under which
 subsections of 35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided
 infringement or infringement under the doctrine of equivalents. Each Defendant shall indicate the
 nature of each theory of invalidity, including invalidity for anticipation, obviousness, subject-
 matter eligibility, written description, enablement, or any other basis for invalidity. The
 Defendant shall also specify each prior art reference or combination of references upon which the
 Defendant shall rely at trial,with respect to each theory of invalidity. The contentions of the
 Parties may not be amended, supplemented, or dropped without leave of the Court based upon a
 showing of good cause.

           So ORDERED and SIGNED this 21st day of June, 2022.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                  5       UNITED STATES DISTRICT JUDGE
